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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE


                                                          )
STEVEN BARIL                                              )
     Plaintiff,                                           )
                                                          )
vs.                                                       ) Civil Action No.
                                                          )
                                                          ) 1: 13-cv-00231
CELLCO PARTNERSHIP and                                    )
VERIZON WIRELESS, LLC                                     )
     Defendants,                                          )
                                                          )




                   COMPLAINT AND DEMAND FOR JURY TRIAL


                                       I.    INTRODUCTION

      1. This is an action for actual and/or statutory damages brought by plaintiff Steven

         Baril, an individual consumer, against the Defendants for violations of the law,

         including but not limited to, violations of Telephone Consumer Protection Act, 47

         U.S .C. § 227 et seq. (hereinafter "TCPA"), New Hampshire RSA 570-A:

         Wiretapping and Eavesdropping (hereinafter "Chapter 570-A"), and New

         Hampshire RSA 358-C Unfair, Deceptive, or Unreasonable Collection Practices

         (hereinafter "Chapter 358-C"). These charges arise out of the invasions of

         Plaintiffs personal privacy by the Defendant and their agents in their illegal

         efforts in engaging in harassing and unconsented phone calls to Plaintiffs

         personal cell phone including phone calls made after Defendants were instructed

         not to contact Plaintiff further.
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                                II. JURISDICTION

2. Jurisdiction of this court arises under 47 U.S.C. § 227 et seq., and 28 U.S .C. §§

   1331 and 1337. It also arises under 28 U.S.C. § 1367 for supplemental state

   claims. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

   Venue in this District is proper in that the Defendants each transact business

   within New Hampshire and each has filed with the New Hampshire Secretary of

   State and is in good standing.


                                    III. PARTIES


3. Plaintiff, Steven Baril (hereinafter "Steven") is a consumer, a natural person,

   residing in Rockingham County, in the state ofNew Hampshire.

4. Defendant Verizon Wireless (hereinafter "Verizon") is a Delaware corporation

   with its principal place of business located at One Verizon Way, Basking Ridge

   New Jersey 07920, Business ID 548934, and with a registered agent listed with

   the New Hampshire Secretary of State's office as CT Corporation System located

   at 9 Capitol Street in Concord, New Hampshire.

5. Defendant CellCo Partnership is a Delaware Corporation with its principal place

   of business located at The Corporation Trust Company, Corporation Trust Center,

   1209 Orange Street in Wilmington Delaware 19801 and with a registered agent

   listed as CT Corporation System located at 9 Capitol Street in Concord, New

   Hampshire. CellCo owns and operates retail stores nationwide doing business as

   Verizon Wireless. Verizon is a joint venture ofVerizon Communications and UK

   based    V odafone.      Verizon   Wireless     principal   business   IS   wireless



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   telecommunications with 2,330 locations. CellCo is in good standing as of the

   date of this complaint filing according to the NH Secretary of State's office.

6. At all times relevant hereto, while conducting business in New Hampshire,

   Defendants have been subject to, and required to abide by, the laws of the United

   States and the State of New Hampshire, which include the Telephone Consumer

   Protection Act ("TCPA"), 47 U.S.C. § 227, et seq., and its related regulations that

   are set forth at 47 C.F.R. § 64.1200 (the "TCPA Regulations"), as well as the

   opinions, regulations and order issued by courts and the Federal Communication

   Commission ("FCC") implementing, interpreting and enforcing the TCP A and the

   TCP A Regulations.

7. At all times relevant hereto, while conducting business in New Hampshire,

   Defendants have been subject to, and required to abide by, the laws of the United

   States and the State of New Hampshire, which include Chapter 570-A, and

   Chapter 358-C.

8. At all times described herein, Defendant, were acting on their own behalf and as

   the agents, servants, partners, joint venturers, and employees of each other, and

   within the scope of their agency, authority and employment.


                        IV. FACTUALALLEGATIONS

9. Herein, whenever Plaintiff Steven Baril alleges the Defendants either acted or

   failed to act in some manner, it means that Mr. Baril alleges that Defendants acted

   through one or more of their authorized employees, representatives and/or agents.

10. Upon information and belief, within one year prior to the filing of this complaint,

   Defendant placed harassing calls to Mr. Baril, through the use of a so-called


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   "auto-dialer", for the purpose of collecting a consumer debt from him. Mr. Baril

   is a 'person' as defined by 47 U.S.C. § 153(10).

11. On April1, 2013 at 9:14am Defendants called Steven's cell phone number using

   an automatic telephone dialing system (hereinafter "auto-dialer") as defined under

   47 U.S.C. § 227 (a)(1)(A)and(B).

12. On April 1, 2013 at 9:26 am Mr. Baril clearly instructed Defendants to stop

   calling using an auto-dialer.

13. On April 1, 2013 at 6:51 pm Defendants called Mr. Baril using an auto-dialer as

   defined under 47 U.S.C. § 227 (a)(l)(A)and(B) despite previous clear and

   unambiguous instructions not to do so.

14. Defendants called Mr. Baril using an auto-dialer as defined under 47 U.S.C. § 227

   (a)(1)(A)and(B) despite previous clear and unambiguous instructions not to do so.

15. On April 4, 2013 at about 11 :3 8 am Mr. Baril called the Defendants and again

   instructed them to stop calling using an auto-dialer and informed the Defendant

   about the TCP A, and stressed that continued calls were a violation thereof. Mr.

   Baril advised Defendants that the call was being recorded, and the Defendants

   voiced no objection.

16. On April 5, 2013 at 8:53 am, Defendants called Mr. Baril using an auto-dialer as

   defined under 47 U.S.C. § 227 (a)(l)(A)and(B) despite previous clear and

   unambiguous instructions not to do so.

17. On April 6, 2013 at 9:02 am, Defendant called Mr. Baril using an auto-dialer as

   defined under 47 U.S.C. § 227 (a)(1)(A)and(B) despite previous clear and

   unambiguous instructions not to do so.



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18 . On April 8, 2013 at 9:39 am, Defendant called Mr. Baril using an auto-dialer as

   defined under 47 U.S.C. § 227 (a)(l)(A)and(B) despite previous clear and

   unambiguous instructions not to do so.

19. On April 8, 2013 at 9:39am, Mr. Baril informed the Defendants that the call was

   being recorded and proceeded to record the conversation. The Defendants' agent

   stated the following, "These calls are all auto-dialed and I have no way to stop

   that." Mr. Baril instructed the Defendants a third time to stop calling him with an

   auto-dialer.

20. Defendants knowingly and/or willfully acted in the manner described above

   without permission and in fact after having been repeatedly instructed by Mr.

   Baril within a year prior to the filing of this complaint not to call him.

21 . Defendants phone calls and phone contact with Mr. Baril was unreasonable and

   done with such frequency as to harass Mr. Baril, and in all events each call

   violated the TCP A and state law.

22. As a result of these actions, Mr. Baril has suffered damages including, but not

   limited to, mental anguish.


                   COUNT I - VIOLATION OF THE TCPA

23 . Mr. Baril repeats, re-alleges, and incorporates by reference all prevwus

   paragraphs as though fully stated herein.

24. The foregoing acts and omissions of each individual Defendant and their agents

   constitute numerous and multiple violations of the TCP A including, but not

   limited to, violation of TCPA § 227b(l )(A)(iii) by calling Plaintiff using an




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   automatic telephone dialing system or an artificial or prerecorded voice to

   Plaintiffs cellular telephone without his express consent.

25. As a result, Mr. Baril has suffered damages and is entitled to declaratory relief

   under the TCPA, plus actual damages pursuant to 47 U.S.C. § 227, statutory

   damages in an amount up to $500.00 for each violation of the TCPA pursuant to

   47 U.S .C. § 227, plus treble damages pursuant to 47 U.S.C . § 227 from the

   Defendants.



                     COUNT II -INVASION OF PRIVACY

26. Mr. Baril repeats, re-alleges, and incorporates by reference all prevwus

   paragraphs as though fully stated herein.

27. Congress explicitly recognized a consumer' s inherent right to pnvacy m

   collection matters when it passed the Telephone Consumer Protection Act, stating

   as part of its findings:


   "In implementing the requirements of [the TCP A], the Commission may, by rule
   or order, exempt from the requirements of paragraph ( 1)(B) of this
   subsection, subject to such conditions as the Commission may prescribe such
   classes or categories of calls made for commercial purposes as the Commission
   determines will not adversely affect the privacy rights that this section is
   intended to protect[.]"

   47 U.S.C. § 227(2)(B)(ii)(I) (emphasis added).

28 . In enacting the TCPA, Congress sought to protect the pnvacy interests of

   telephone subscribers, such as Mr. Baril, and place restrictions on unsolicited

   telephone calls placed to individuals ' cell phones for commercial purposes, and

   by imposing obligations upon creditors engaging in debt collection, such as the



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   Defendant, to not place any calls to the cell phone of a consumer in violation of

   FCC regulations.


29. Congress further recognized a consumer's right to privacy in financial data in

   passing the Gramm Leech Bliley Act, which regulates the privacy of consumer

   financial data for a broad range of "financial institutions" including creditors

   engaging in debt collection, albeit without a private right of action, when it stated

   as part of its purposes:


           It is the policy of the Congress that each financial institution has an
           affirmative and continuing obligation to respect the privacy of its
           customers and to protect the security and confidentiality of those
           customers' nonpublic personal information.

           15 U.S.C . § 6801(a) (emphasis added).

30. Defendants and/or its agents intentionally and/or negligently interfered, physically

   or otherwise, with the solitude, seclusion and/or private concerns or affairs of Mr.

   Baril by repeatedly and unlawfully attempting to collect an alleged consumer debt

   from Mr. Baril in a harassing manner, and thereby invaded Steven's privacy.

31. Defendants also intentionally and/or negligently interfered, physically or

   otherwise, with the solitude, seclusion and/or private concerns or affairs of Mr.

   Baril by repeatedly and unlawfully contacting his cell phone using an automatic

   telephone dialing system, after he previously instructed Defendants not to call

   him, and thereby invaded Mr. Baril's right to privacy.

32. Defendants and its agents intentionally and/or negligently caused mental

   anguish/suffering to Mr. Baril by engaging in highly offensive conduct in the

   course of trying to collect on the alleged debt, which amounted to a campaign to


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   intentionally and maliciously harass, bother, frustrate, agitate, aggravate, and

   annoy Mr. Baril, thereby invading and intruding upon Mr. Baril's right to privacy.

33. Mr. Baril had a reasonable expectation of privacy and to solitude, seclusion,

   private concerns and affairs.

34. The conduct of the Defendants and their agents, in engagmg m the above-

   described illegal and harassing debt collection conduct against Mr. Baril, resulted

   in multiple intrusions and invasions of Mr. Baril's privacy by the Defendants

   which occurred in a way that would be highly offensive to a reasonable person in

   that position.

35. As a result of such intrusions and invasions ofMr. Baril ' s privacy by Defendants,

   Mr. Baril has suffered damages in an amount to be determined at trial.



                    COUNT III- VIOLATION OF RSA 358-C

36. Mr. Baril repeats, re-alleges, and incorporates by reference all of the above

   paragraphs of this Complaint as though fully stated herein.

37. Defendants violated RSA 358-C, relating to Unfair, Deceptive or Unreasonable

   Collection Practices in the Regulation of Business Practices for Consumer

   Protection as outlined herein, to wit: " .. .causing a telephone to ring or engaging

   any person in telephone conversation repeatedly or continuously or at unusual

   times or at times known to be inconvenient with the intent to abuse, oppress or

   harass any person at the called number. "

38. Defendants' acts as described herein were done intentionally with the purpose of

   harassing, and annoying Mr. Baril.



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39. Defendants' acts as described above were done intentionally with the purpose of

   coercing Mr. Baril to pay on the alleged consumer debt.

40. As a result of the above actions, Defendants violated RSA 358-C entitling Mr.

   Baril to injunctive and declaratory relief and for actual damages, statutory

   damages, and attorney fees and costs.


                  COUNT IV- VIOLATION OF RSA 570-A

41. Mr. Baril repeats, re-alleges, and incorporates by reference all of the above

   paragraphs of this Complaint as though fully stated herein.

42. Defendants actions outlined herein against Mr. Baril violated RSA 570-A as they

   fall within the statutory language ofRSA 570-A which states:

          "A person is guilty of a misdemeanor if, except as otherwise specifically
          provided in this chapter or without consent of all parties to the
          communication, the person knowingly intercepts a telecommunication or
          oral communication when the person is a party to the communication or
          with the prior consent of one of the parties to the communication, but
          without the approval required by RSA 570-A:2, II( d) ."


43 . Defendants also intentionally and/or negligently interfered, physically or

   otherwise, with the solitude, seclusion and/or private concerns or affairs of Mr.

   Baril, namely, by repeatedly and unlawfully not disclosing to Mr. Baril that the

   phone conversations with the Defendant were not being recorded and/or

   monitored.

44. As a result of the above violations Mr. Baril has suffered damages entitling him

   to, among other damages, the following : "Any person whose telecommunication

   or oral communication is intercepted, disclosed, or used in violation of this

   chapter shall have a civil cause of action against any person who intercepts,


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      discloses, or uses, or procures any other person to intercept, disclose or use such

      communications, and be entitled to recover from any such person:

                     a) Actual damages but not less than liquidated damages computed
                        at the rate of$100 a day for each day of violation or $1,000,
                        whichever is higher;
                     b) Punitive damages; and
                     c) Reasonable attorney's fee and other litigation costs reasonably
                        incurred."

                              DEMAND FOR JURY TRIAL

       Plaintiff Steven Baril requests a trial by jury for all Counts.

WHEREFORE, Plaintiff Steven Baril respectfully requests that this honorable court
enter judgment against Defendants on all Counts and award:

   A. As to the TCP A claims, actual monetary loss from such a violation, or up to $500
       in damages for each such violation, whichever is greater;

   B. Treble damages pursuant to the TCPA, 47 U.S.C. § 227(c)(5);

   C. As to the invasion of privacy claims, an award of compensatory damages,
      punitive damages, and Plaintiffs reasonable attorney's fees and costs against the
      Defendants;

   D. As to the wiretapping claims, an award of liquidated damages against the
      Defendant in the amount of at least $1 ,000 per day, punitive damages, and
      reasonable attorney's fees and costs against the Defendants;

   E. Award Mr. Baril's costs and reasonable attorney's fees; and

   F. For such other and further relief as the Court may deemjust and equitable.

                                                      RESPECTFULLY SUBMITTED,
                                                      Steven Baril,

                                                       Through his attorneys:
                                                       The Augeri Law Group, PLLC

Date: May 14, 2013                                     Is/ Anthony S. Augeri
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